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                             Exhibit “H”
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                              RESiATED TRUST AGREEMENT
                             OF PLUMBERS LOCAL UNION NO.1
                                 TRADE EDUCATION FUND

                          THIS TRUST AGREEMENT is made and entered into effective the

         txLr:-r      . . . . }.
              day of (;A...L, 1999 in the State of New York, by and between Plumbers Local

         Union No. 1 (hereinafter referred to as the "Union"), the Association of Contracting

         Plumbers of the City of New York, Inc. (hereinafter referred to as the "Association")
                                                                                                   I
         on behalf of Employers (hereinafter referred to as "Employers") who may from time         I'
         to time contribute to the Trust herein created pursuant to Collective Bargaining

         Agreements and the Trustees designated as described herein.

                          WHEREAS, the parties hereto believe that it is in the best interest of

         the employees represented by the Union, and the families and dependents of these
(
         employees, to provide for apprenticeship and journeyman education and training and

         for that purpose continue this Trust Fund; and

                          WHEREAS, the parties to this Trust have entered into Collective

         Bargaining Agreements which provide, among other things, that the Employers will

         make payments to a Fund to provide such education and training benefits to

         employees covered by the Collective Bargaining Agreements, and

                          NOW,THEREFORE, in consideration of the promises and of the               II


         mutual agreements contained in this Trust Agreement, the parties hereto agree to and

         adopt all of the terms and provisions contained herein and the Trustees declare that

         they will receive, hold, use and apply the contributions and any other rrioney or

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    property which may come into their hands as Trustees for the exclusive benefit of

    the employees and their beneficiaries upon the terms, conditions and trusts,

    hereinafter stated.

                                          ARTICLE I
                                         DEFINITIONS

                      Unless the context or subject matter requires otherwise, the

    following definitions will govern in this Trust Agreement:

                      Section 1. Collective Bargaining Agreement. "Collective Bargaining

    Agreement" means a written labor contract or other written agreement between the

    Union and an Employer or the Association that requires contributions to this Fund in a

    manner acceptable to the Trustees together with any modifications, supplements or

    amendments thereto.       The term also includes a written agreement between the

   · United Association or a local or state labor organization and Employers or an

    Employer association or a signed participation agreement between the Fund and an

    Employer or Employer association which requires contributions to this Fund in a

    manner acceptable to the Trustees.

                     Section 2. Union. "Union" means Local Union No. 1 affiliated with

    the United Association of Journeymen and Apprentices of the Plumbing and

    Pipefitting Industry of the United States and Canada.

                     Section 3.    Association.       "Association" means the Association of

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    Contracting Plumbers of the City of New York, Inc.

                       Section 4. Employer. "Employer" means:

                       a. An employer which is a member of or is represented in collective

    bargaining by the Association and which is bound by a Collective Bargaining

    Agreement providing for payments to the Trust Fund including payments with respect

    to employees represented by the Union or with respect to other employees of the

    employer approved by the Trustees, or which is otherwise required to make such

    payments.

                       b.   An employer which is not a member of or represented in

    collective bargaining · by the Association but which has executed a Collective

    Bargaining Agreement providing for payments to the Trust Fund including payments

    with respect to employees represented by the Union or with respect to other

    employees of the employer approved by the Trustees, or which is otherwise required

    to make such payments.

                       c.    An employer which has by agreement with the United

    Association agreed to make payments into the Trust Fund for work performed within

    the territorial or trade jurisdiction of the Union.

                       d. The Union, for the purpose of making payments into the Trust

    Fund as the employer of the employees of the Union for whom the Union agrees to


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    contribute to the Trust Fund in accordance with the rules adopted by the Trustees.

                     e.   A state or local labor organization, for the purpose of making

    payments into the Trust Fund as the employer of the employees of such labor

    organizations who were previously participants in this Fund for which such labor

    organizations agree to contribute to the Trust Fund in accordance with the rules

    adopted by the Trustees.

                    f.    This Trust Fund or other trust funds to which the Union is a

    party, and the Plumbing Industry Board as the administrative office of the Local 1

    Funds, for the purpose of making payments into this Trust Fund as the employer of

    employees of such trust funds for which such trust funds agree to contribute to this

    Trust Fund in accordance with the rules adopted by the Trustees.

                    g.    The Association, for the purpose of making payments into the

    Trust Fund as the employer of employees of such an association for which the

    association agrees to contribute to the Trust Fund in accordance with the rules

    adopted by the Trustees.

                     Provided, however, that the foregoing reference to the Union, or

    state or local labor organizations, the Plumbing Industry Board and trust funds as

    "Employers" will not convey to these organizations any right or privilege granted by

    this Trust Agreement to Employers who are contractors.


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                      Section 5. Employee. "Employee" means those employees who are

     employed by any Employer as defined in Article I, Section 4, and on whose behalf

     contributions are required to be made to the Fund pursuant to a Collective Bargaining

     Agreement and such other persons as the Trustees determine to be employees under

     the Plan of Benefits.    The Trustees have the authority to adopt rules covering

     eligibility, termination of eligibility, reinstatement of eligibility, reporting, record

     keeping and contribution requirements for Employees.

                      Section 6.   Trustees.   "Trustees" means the Trustees designated

     and appointed in accordance with the terms of this Trust Agreement.

                      Section 7.     Trust Agreement.      "Trust Agreement" means this

     document including any amendments, supplements and modifications hereto.

                      Section 8.     ERISA.    "ERISA" means the Employee Retirement

     Income Security Act of 1974, any amendments as may from time to time be made

     end any regulatio11s promulgated pursuant to the provisions of ERISA.

                      Section 9. Plan of Benefits. The term "Plan of Benefits" means the

    program of benefits, which may include apprentice and journeyman education and

    .training and related benefits, established by the Board of Trustees pursuant to this

    · Trust Agreement and as subsequently amended by the Trustees.

                      Section 10. Trust Fund. " Trust Fund" or "Fund" means the trust


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    Fund provided for in this Trust Agreement, and means generally the monies, real and

    personal property, investments, insurance policies and other things of value which

    may comprise the corpus, income and additions to the Trust Fund. ·

                                       ARTICLE II
                            CONTINUATION OF THE TRUST FUND

                      Section 1.     Continuation of the Trust Fund.       This Agreement

    continues a Trust Fund known as the Plumbers Local Union No. 1 Trade Education

    Fund.

                      Section 2.    Composition of Trust Fund.    The assets of this Trust

    Fund consist of (1) the sums of money that have been or will be paid or which are

    due and owing to the Fund by the Employers as required by Collective Bargaining

    Agreements; (2) the sums of money that have been or may be paid to the Fund by

    Employees; (3) all investments made therewith, the proceeds thereof and the income

    therefrom; (4) all policies of insurance including dividends, interest, refunds, or other

    sums payable to the Trustees on account of said policies; (5) all other contributions

    and payments to or due and owing to the Trustees from any source to the extent

    permitted by Jaw; and (6) supplies, real and personal property and other assets used

    by the Trustees in the administration of the Fund.

                      Section 3. Purpose of Trust Fund. The Trust Fund created hereby

    is for the purpose of providing (1) apprentice and journeyman education and training

    and other benefits that may be permitted by law under a plan of benefits adopted by

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    the Trustees and (2) the means for financing the expenses of the Trustees in the

    operation and administration of the Trust Fund, in accordance with this Trust

    Agreement.    This Trust is a multi-employer plan as that term is defined in Section

    3(37) of ERISA.

                      Section 4.    Irrevocable Purpose.   The Trust created by this Trust

    Agreement is an irrevocable trust established for the exclusive benefit of employees,

    in accordance with Section 302(c) of the Labor-Management Relations Act of 1947,

    as amended by Public Law 86-257, 1959, and in accordance with ERISA.

                                         ARTICLE Ill
                                     BOARD OF TRUSTEES

                      Section 1. Board of Trustees. The operation and administration of

    the Fund will be the responsibility of a Board of Trustees, composed of eight (8)

    _Trustees, four (4) of whom will be Employer Trustees, designated and appointed by

    the Association, and four (4) of whom will be Union Trustees, designated and

    appointed by the Union.

                      There may also be up to eight (8) alternate Trustees. Up to four (4)

    of the Alternate Trustees may be appointed by the Union and up to four (4) of the

    Alternate Trustees may be appointed by the Association.          The Alternate Trustees

    shall serve in the place of any of the Trustees who are unable to attend a regular or

    special meeting of the Trustees .or who are temporarily incapacitated from serving.

    At or before a meeting, the Union and the AS$Ociation may designate one or more of

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    the Alternate Trustees to serve in the place, of any absent Union or Association

    Trustees respectively.

                     The composition of the Board of Trustees may be changed at any

    time by majority vote of the Trustees.

                     Section 2.    Acceptance of Trusteeship.    Each Trustee will sign a     I
    written acceptance and thereby will ·accept the Trust established by this Trust           II
    Agreement, will consent to act as Trustee and will agree to·administer the Trust Fund     I
    as provided in this Trust Agreement.      The written acceptance· will be in a form

    satisfactory to the Trustees and consistent with ERISA and will be filed at the office

    of the Fund.

                     Section 3.     ·Appointment and Removal of Trustees.          Trustees

    representing the Employers will be appointed by the Association from among the

    members of the Association who are Employers or officers of Employers.             Any

    Employer Trustee may be removed from office at any time for any reason by the

    Association.   Trustees representing the Union will be appointed by the Union from

    among the officers of the Union. A Union Trustee may be removed from office at

    any time, for any reason, by the Union. Any such appointment or termination '!'fill be

    effective as stated in a written notice which will be given to the remaining Trustees.

                     Section 4. Name. The Trustees will conduct the

    business of the Fund and execute all documents in the name of the Plumbers Local


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                                                                                                      I
     Union No. 1 Trade Education Fund.                                                                I
                       Section 5.   Resignation and Replacement of Trustees.           A Trustee

     may resign and become and remain fully discharged from all further duty or

     responsibility under this Trust Agreement by giving thirty {30) days' written notice of

     such resignation to the Co-Chairmen of the Board of Trustees, or such notice as the

     remaining Trustees may accept as sufficient. The notice will state the date on which

     the resignation will take effect and the resignation will take effect on the date stated

     in the notice unless a successor Trustee is appointed at an earlier date, in which

     event the resignation will take effect immediately upon the appointment of the

     successor Trustee.

                      In   the   event   of the       resignation,   death,   incapacity   or   the

     unwillingness of any of the Trustees to serve, a successor Trustee will be designated

     by the Union or Association, as applicable, in accordance with this Trust Agreement.

     The remaining Trustees will be notified of such designation in writing.

                      Any successor Trustee designated as provided in this Trust

     Agreement will sign an acceptance of this Trust Agreement es provided in Section 2

     of this Article, and will thereby become vested with all the rights, powers, discretion

     and duties of his predecessor Trustee.

                      Any retiring or terminated Trustee will promptly turn over to the

    remaining Trustees at the office of the Fund any and all records, books, documents,


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     monies and other property in his possession which are a part of the Trust Fund and

     related to the fulfillment of the Trustees' duties and responsibilities under this Trust

     Agreement.

                       The powers of the Trustees to act, as provided in this .Trust

     Agreement, will not be impaired or limited in any way pending the designation of a

     successor Trustee to fill any vacancy.

                       Section 6. Term of Trustees. A Trustee will continue to serve until

     his death, incapacity, resignation, removal, or expiration of his term as established by
                                                                                                I
     the Union or Association, as applicable, designating the Trustee.

                       Section 7.   Payment of Trustees.      The Trustees may not receive

     compensation for the performance of their duties but may be reimbursed, in

     accordance with ERISA, for any reasonable and necessary expense that they may

     incur in the performance of their duties.

                                      ARTICLE IV
                        MEETINGS AND DECISIONS OF THE TRUSTEES

                       Section 1. Officers of the Trustees. The Trustees will select from

     among themselves two Co-Chairmen of the Trustees to serve for a period that they

     will determine.   When one Co-Chairman has been selected from among the Union

     Trustees, the other Co-Chairman will be selected from among the Employer Trustees

     and vice versa.


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                      Section 2.    Meetings of the Trustees.        Regular meetings of the

     Trustees will be held at such times and places as determined by the Co-Chairmen.

     Reasonable notice of the meetings will be provided, except that meetings may be

     held at any time without notice if all the Trustees consent thereto in writing. Special

     meetings may be called by either Co-Chairman upon three (3) days' written notice.

     The Trustees will meet at least once each year and at such other times as they find it

     necessary to conduct their business.

                      Section 3. Action of Trustees Without Meeting. The Trustees may

     also take action without a meeting, in writing or by telephone conference call,

     provided that, In such cases, there must be unanimous agreement of all Trustees.

                      Section 4.    Quorum.    In any meeting of the Trustees, four (4)

     Trustees, consisting of at least two (2) Union Trustees and at least two (2) Employer

     Trustees, will constitute a quorum for the conduct of business. · At all meetings, the

     Employer and Union Trustees will have equal voting strength.

                      Section 5. Majority Vote of Trustees. All action by the Trustees

     will be by majority decision of the Union Trustees present and voting and the majority

     decision of the Employer Trustees present and voting.            This requirement for a

     decision by a majority of both Union and Employer Trustees voting will apply not only

     to this Article but to any portion of this Trust Agreement which refers to action by·     I·

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     the Trustees.   If any matter presented to the Trustees for a decision cannot be
                                                                                              II
     decided because there is no quorum at two successive regular or special meetings, or
                                                                                              I
     because of a tie vote at any meeting, the matter may be submitted to arbitration, as

     stated in Article IX of this Trust Agreement.

                         Section 6.   Minutes of Meetings.      The Trustees or someone

     designated by them will keep minutes of all meetings. The minutes need not be

     verbatim. Copies of the minutes will be sent to all the Trustees and to other persons

     as the Trustees may direct. Minutes of a meeting will be reviewed and approved by

     the Trustees at the next meeting.

                                       ARTICLE V
                              POWERS AND DUTIES OF TRUSTEES

                      Section 1.      Conduct of Trust Business.      The Trustees have the

     authority to control and manage the operation and administration of the Fund and will

     conduct the business and activities of the Fund in accordance with this Trust

     Agreement and applicable law. The Trustees will hold, manage and protect the Trust

     Fund and collect the income therefrom and contributions thereto. The Trustees are

     the "Named Fiduciary" and the ·~Administrator" of the Fund as those terms are

     defined in ERISA.

                      Section 2. Use of the Trust Fund for Expenses and to Provide

     Benefits.

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                           {a)      The Trustees have the power and authority to use and apply

         the Trust Fund to pay or provide for the payment of all reasonable and necessary

         expenses {i) to collect Employer contributions and payments and other monies and

         property to which they may be entitled and {ii) to administer this Trust Fund,

         including the purchase or lease of premises, material, supplies and equipment, {iii) to

         obtain such legal, consulting, investment, administrative, accounting, clerical and

         other services as they determine to be necessary or appropriate, and (iv) to perform

         such other acts as the Trustees, in their sole discretion, find necessary or appropriate

         to perform their duties.

                           (b)      The Trustees have the power and authority to use and apply

(        the Trust Fund to pay or provide for the payment of apprentice and journeyman

        .. education and training benefits and other benefits to eligible Employees in accordance

         with the terms, provisions and conditions of the Plan of Benefits adopted by the

         Trustees pursuant to this Trust Agreement.

                           Section 3. Construction and Determinations by Trustees. Subject

         to the purposes of the Fund and the provisions of this Trust Agreement, the Trustees

         have full and exclusive discretionary authority to determine all questions of coverage
                                                                                                    I
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         and eligibility, method of providing for ben·efits and all other related matters. They     !

         have full discretionary power to interpret the provisions of this Trust Agreement and


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     the Plan of Benefits, and the terms used in these documents and any rules and

     regulations issued in connection with these documents. Any such determination and

     any such interpretation adopted by the Trustees in good faith will be binding upon the

     Union, Association, Employers and Employees.

                      Section 4. General Powers. In addition to other powers set forth

     herein or conferred by law, the Trustees are hereby empowered to:

                      (a)    demand, collect, receive and hold contributions and take any

     action which they may find necessary or desirable to collect contributions due the

     Trust Fund;

                      (b)    compromise, settle, arbitrate and release claims or demands

     in favor of or against the Trust Fund or the Trustees on such terms and conditions as

     the Trustees- may determine to be advisable; commence or defend any -legal,

     equitable or administrative proceedings brought in connection with the Trust Fund

     and represent the Trust Fund in all such proceedings;

                      (c)   pay or provide for the payment of all reasonable and

     necessary expenses of collecting contributions and payments;

                      (d)    enter into any and all contracts and agreements for carrying

     out the terms of this Trust Agreement and the administration of the Fund;

                      (e)   enter into an investment contract or agreement with one or


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         more insurance companies for the investment and reinvestment of assets of the Trust
                                                                                                   I
         Fund;

                          (f)    invest, reinvest and have invested and reinvested assets of
                                                                                                   I
         this Trust Fund, without distinction between principal and income, in any type of         I
         investment the Trustees determine to be prudent. There is no limitation restricting

         investments in common stock to a percentage of the Trust Fund or to a percentage

         of the total market value of the Fund. The Trustees have the authority, with respect

         to any stocks, bonds or other real or personal property which they hold as Trustees,

         to exercise all the rights, powers and privileges which might be lawfully exercised by

         a person owning similar property in his own right;

(                         (g)    register securities or other Trust Fund property in the name of

         the Trust Fund or of the Trustees.- or in the names of one or more nominees of the

         Trustees and to hold instruments in bearer form;

                          (h)    enter into and terminate agency or custody agreements with

         a bank, trust company or other custodian chosen by them, under which agreements

         the Trustees may turn over to such bank, trust company or other custodian all or a

         portion of the funds held by them in this Trust for safekeeping, investment or

         reinvestment, on such terms as the Trustees determine to be advisable;

                          (i)    invest the assets of· the Fund in a common, collective, or


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     ·commingled trust fund, to the extent permitted by ERISA and other applicable law.

     To the extent monies or other assets are transferred to a collective trust in exchange

     for an interest in the collective trust, the terms and conditions of the collective trust

     alone will govern the investment duties, responsibilities and powers of the trustees of

     the collective trust, and to the extent required by law, those terms, responsibilities,

     and powers will be incorporated herein by reference and will be part of this Trust

     Agreement;

                       (j)   sell, exchange, lease, convey, mortgage or dispose of any real

     or personal property, which is at any time a part of the Trust Fund, on terms which

     the Trustees determine to be proper, and to execute and deliver any and all

     instruments of conveyance, lease, mortgage or transfer in connection therewith;

                       (k)     pay or provide for the payment of all real and personal

     property taxes, income taxes and other taxes levied or assessed under applicable law

     upon or with respect to the Trust Fund or any money, property, or securities forming

     a part of the Fund;

                      (I) borrow money from any source at rates which they consider

     appropriate for the construction, purchase, renovation or maintenance of training

     facilities or for the purchase or lease of equipment for training or for any other

     purpose consis.tent with this Trust Agreement;


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                       (m) purchase or rent equipment, purchase or rent improved or

     unimproved real estate and construct, renovate or use existing buildings for ·the

     purposes of this Trust Agreement;
                                                                                               i

                       (nJ pay tuition or training expenses of apprentices or journeymen or    I
     of training instructors at a school or program approved by the Trustees;

                       (o) enter into an agreement or arrangement with other education and

     training funds for the establishment and operation of a training program, for the joint

     administration of training programs and/or for the operation of a training facility;

                       (p)    retain such poroon of the assets of the Trust Fund in cash or

     cash equivalents as the Trustees may determine to be desirable, without any liability

    ·.for interest on such assets;

                       (q)    establish and accumulate as part of the Trust Fund such

     reasonable reserve funds as the Trustees, in their sole discretion, determine to be

     necessary or desirable to carry out the purposes of the Trust Fund;

                       (r)    allocate fiduciary responsibilities among the Trustees, or

     committees of the Trustees, delegate fiduciary duties to persons other than the

     Trustees, and delegate Trustee responsibilities to an investment manager as provided
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    in this Trust Agreement and in accordance with the requirements of ERISA;

                       (s)    appoint one or more· investment managers, as that term is
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     defined in ERISA, and enter into an agreement with such investment managers, in

     accordance with the ·requirements of ERISA, delegating to the investment manager

     the responsibility to control and manage, acquire and dispose of all or a portion of the

     assets of the Trust Fund which the Trustees may specify;

                      (t)    enter into an agreement with an administrative manager to

     administer the office or offices of the Trust Fund and of the Trustees under the

     direction of the Trustees or a committee of the Trustees. The administrative manager

     will coordinate and administer the accounting, bookkeeping and clerical services,

     provide for the coordination of consulting services, prepare (in cooperation where

     appropriate with the consultant and independent auditor) all reports and other

     documents to be prepared, filed or distributed by the Trust Fund in accordance with

     law, assist in the collection of amounts due to the Trust Fund by Employers and

     Employees and perform such other duties and furnish other services as may be

     assigned,   delegated or directed or as may be contracted by or on behalf of the

     Trustees;

                      (u) employ an education and training director to operate and

     administer the offices of the education and training program, maintain education and

     training records, coordinate the education and training program, prepare reports of

     the program as may be required and to perform any other duties which· may be


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     assigned or delegated by the Trustees;

                       (v) employ a qualified investment consultant to assist the Trustees

     in exercising their investment powers and authority by reviewing the investment

     performance, the investment policy and the types and kinds of investments made by

     the Trustees and/or the investment manager(s);

                       (w) engage one or more independent certified public accountants,

     qualified consultants and qualified legal counsel to perform all services as may be

     required by applicable law and such other services as the Trustees may determine to

     be necessary;

                       (x)   pay or provide for the payment from the Trust Fund of all

     costs incurred in obtaining the services of professionals, consultants, managers and

     other providers or services to the Fund as the Trustees determine to be necessary

     and in accordance with this Trust Agreement and applicable law;

                       (y)   designate an agent for service of legal pro.cess for the Trust

    .Fund;

                       (z)   obtain policies of insurance, to the extent permitted by law,

     to insure the Trustees, the Trust Fund, employees and agents of the Trustees and of

     the Trust Fund while engaged in business and related activities for and on behalf of
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     the Trust Fund (i) with respect to liability as a result of acts, errors or omissions of
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..'
           the Trustees, employees or agents, and (ii) with respect to injuries or property

           damage. The cost of the premiums for such policies of insurance will be paid out of

           the Trust Fund to the extent permitted by ERISA;

                            {aa)   merge this     Fund     into   or   with   another   apprentice   or

           journeyman education and training fund or to accept the transfer of all or a portion of

           the assets of another education and training fund in accordance with the provisions

           of ERISA;

                            (bb)   establish policies, rules and procedures which the Trustees

           determine to be necessary to accomplish the purposes of this Trust Agreement and

           which are not inconsistent with the terms of this Trust Agreement;

                            (cc). exercise their discretionary authority to make all determinations

           concerning benefit coverage, eligibility, type, amount and duration of benefits;

                            (dd)   do any and all acts, whether or not expressly authorized in

           this Trust Agreement, which the Trustees determine to be necessary to accomplish

           the general objective and purpose of providing apprentice and journeyman education

           and training and related benefits to Employees.

                            Section 5.     Personal Liability.    Except to the extent liability is

           imposed by ERISA, no Trustee will be liable or responsible for his own acts or for any

           acts or defaults of any other fiduciary or party in interest or any other person. The


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     Trustees, to the extent permitted by applicable law, will not incur liability by acting

    . on any document which they believe to be genuine and to contain a true statement

     of facts. and, if applicable, to be signed by the proper person.

                       Section 6.     Reliance on Written Instruments and Professional

     Advice. Any Trustee, to the extent permitted by ERISA, may rely upon any written

     document purporting to have been signed by a majority of the Trustees as conclusive

     evidence of the fact that a majority of the Trustees have taken the action stated to

     have been taken in such document.

                       The Trustees may, from time to time, consult with the Trust Fund's

     legal counsel and any other professionals. To the extent permitted by ERISA, the

     Trustees will be protected in acting upon the advice of such professionals.

                       Section 7. Reliance by Others. No party dealing with the Trustees

     will be obligated to see that the funds or property of the Trust Fund are applied to the

     stated purposes of the Trust, to see that the terms of this Trust Agreement have

     been complied with or to review the necessity of any act of the Trustees.             A

     document executed by the Trustees will be conclusive evidence in favor of any

     person relying on such a document that at the time the document was executed, the

     Trust was in full force and effect, that the document was executed in accordance

     with the terms and conditions of this Trust Agreement, and that the Trustees were


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     authorized and empowered to execute the document.
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                      Section 8. Books of Account. The Trustees or their agent will keep
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     true and accurate books of account and records of all transactions of the Trust Fund
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     which will be open to the inspection of each of the Trustees at all times and which

     will be audited at least annually and at such other times as the Trustees determine it

     to be appropriate by a certified public accountant selected by the Trustees.      Such

     audits will be available at all times for inspection by the Association, Employers, the

     Union and the Employees or their Beneficiaries at the principal office of the Trust

     Fund.

                      Section 9.     Surety Bonds.     The Trustees and any agents or

     employees who are empowered and authorized to sign checks and handle monies of

     the Trust Fund will be bonded by an authorized surety company qualified to write

     such bonds.   The Trustees may also bond such other agents or employees of the

     Trust Fund as they determine to be appropriate. The cost of the premiums of such

     bonds will be paid out of the trust Fund. The bonds will be in the amounts required

     by applicable law.

                      Section 10. Execution of Documents.       In the course of operating

     the Trust Fund the Trustees will execute documents in the name of the Plumbers

     Local Union No.. 1 Trade Education Fund.       Documents may be signed by the Co-


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     Chairmen, or one or more Trustees authorized by resolution. Documents executed as

     provided above are binding on the Trustees and the Trust Fund.

                                       ARTICLE VI                                               II
                            CONTRIBUTIONS TO THE TRUST FUND

                      Section 1. Contributions Held in Trust. The Trustees will receive

     and hold the payments provided for in this Trust Agreement and any other money or

     property which may be entrusted to them, as Trustees, with the powers and duties

     and for the uses and purposes set forth in this Trust Agreement. Neither the Union,

     the Association, the Employers or Employees will have any right, title or interest in or

     to the Trust Fund or any part of the Trust Fund except as required by law.

                      Section 2. Encumbrance of Benefits.       The Plumbers Local Union

     No. 1 Trade Education Fund is an irrevocable trust for the sole and exclusive benefit

     of the Employees who are entitled to benefits under the Plan of Benefits.

                      All of the assets of the Trust Fund will be free from the interference

     and control of any creditor of the Union, the Association, the Employers or

     Employees.    No benefits will be subject to assignment or other anticipation, nor

     subject to seizure or to sale under any legal, equitable or other process except as may

     be specifically permitted by the Trustees in accordance with applicable law. If any

     claim or benefit becomes or may become payable to any person other than the

     Employee entitled to the benefit, the Trustees have the power to withhold payment

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     of the benefit to the Employee until the assignment, encumbrance, anticipation or

     other legal process is canceled or withdrawn in a manner satisfactory to the Trustees.

      Until so canceled or withdrawn, the Trustees have the power and discretion to use

     and apply the benefits directly for the education and training of the Employee.

                       The Employers' contributions and payments due and owing to the

     Trust Fund are not and will not be considered wages due to Employees. The Trust

     Fund will not be liable for or subject to the debts, contracts or liabilities of the Union,   1

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     the Association, Employers or Employees.

                       No Employee has the right to receive any part of the assets of this
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     Trust Fund, except as provided by the Plan of Benefits.                                       I
                       Section 3. Rate of Contributions. Each of the Employers will pay to
                                                                                                   II
     the Trustees the amount of money as established and provided for in Collective

     Bargaining Agreements. An Employer will also be obligated to pay the amounts

     established in such agreements following the expiration of a Collective Bargaining

     Agreement if the Employer is under a duty to pay such amounts pursuant to an

     obligation arising under the National Labor Relations Act.        The obligations of each

     Employer under this Trust Agreement will be binding upon the Employers' successors

     and assigns to the extent provided by law.

                       Section 4. Mode of Payment and Reports. All payments required


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         by the Collective Bargaining Agreements as defined in Articl_e I, Section 1 will be paid

          to the Trustees in the manner and form determined by the Trustees. The Employer

          will make all reports on contributions required by the Trustees in the. performance of

         their duties under this Trust Agreement.

                           The Trustees may, at any time, designate a qualified representative

         to conduct an audit of the payroll, wage and other records of any Employer to permit

         the Trustees to determine whether the Employer is making full payments to the Trust

         Fund in the amounts required by the Collective Bargaining Agreement.       Any data or

         information provided to the Trustees by an Employer or by the Union will be kept

         confidential and may not be disclosed by the Trustees to any third person, unless the

(        Trustees decide that disclosure is necessary for the proper administration of the          I
         Fund.                                                                                      I
                           Section 5.   Presumptions Which Apply Where Records Are Not

         Sufficient.   Employers bound to this Trust Agreement are required to keep records

         that are sufficient to allow the Fund's representative and/or auditor to determine

         which Employee performed work for which contributions and/or payments W!3re

         required to be made to the Fund by the Employer and how many hours of such work

         were performed.     If the Fund's representative and/or auditor determines that the

         Employer's records are not sufficient for this purpose, it will be presumed that any


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      individual who performed work .for which contributions were required to be made to

      the Fund by the Employer during the period covered by the audit, spent his entire

      time performing such work.        · Therefore, unless other records are available to

      determine hours worked, a delinquency based on the work performed by such a

      person will be calculated by dividing the person's total compensation from the

      Employer by the applicable wage rate under the Collective Bargaining Agreement and

      multiplying by the appropriate rate of contribution.

                       Section 6. Default in Payment. Each Employer is responsible only

      for making contributions and payments that it is obligated to make on behalf of its

      Employees under its Collective Bargaining Agreement except as provided in this Trust

      Agr~ement.   If an Employer does not pay any contribution or payment when due this

      will not -relieve any other Employer of his obligation to make payments. Non-payment

      by one Employer of any contribution or payment when due does not impose on any

      other Employer, the Association or the Union any obligation with respect to such

      payments.

                       Regular, prompt and correct payment of amounts due by individual

     Employers to this Fund is essential for the maintenance of the Fund. It is extremely

     difficult, if not impossible, to establish the actual expense and damage to the Fund

      and to the benefit program provided by the Fund which will result from the failure of


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           an individual Employer to make payments in full within the specified time period

           established by the Trustees. Therefore, payments and the completed reporting forms

           are due by the twentieth (20th) day following the end of each calendar month. If an

           Employer does not file a report or make contributions .within ten (10) calendar days of

           the due date, the following, in the discretion of the Trustees, will be added to and

           become a part of the amount due from the Employer: ( 1) liquidated damages for each

           monthly report or payment due in the amount of twenty percent (20%) of the

           amount due, plus interest at the rate of 12 percent (12%) from the due date to the

           date of payment; or (2) double interest as provided in ERISA.         If an audit of an

l'.        Employer's records discloses contributions due to the Fund, the Employer will also be

i (        obligated to pay the audit fee.

                            The Trustees· have the power to take any action necessary to

           enforce the payment of contributions and other amounts due, which may include

           filing or intervening in any legal, equitable or admini.strative proceedings.        All

           reasonable expenses incurred by the Trust Fund to enforce the payment of amounts

           due, including but not limited to, reasonable attorneys' fees, accountants' or auditor's

           fees and court costs will be added to the amount owed by the delinquent Employer in

           addition to the amount of contributions and payments due and the . liquidated

           damages and interest provided for above. The Trustees have the authority to settle


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     or compromise any claim, suit, or legal action for. less than full amount due or to

     waive amounts ·due or determine amounts due to be uncollectible when In the

     Trustees' discretion they determine it to be in the best interest of the Fund.

                       The Trustees or a committee appointed by the Trustees have the

     discretion to adopt such rules and procedures concerning payments to the Fund,

     audits, liquidated damages and to enforce the collection of delinquent contributions        i
     as they determine to be necessary. The Trustees may, in their discretion, require a         I
     bond or deposit as security for the prompt future payment of contributions and other
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     amounts due to the Fund. The Trustees may, in their discretion, adopt special rules,

     including but not limited to, more frequent reporting and payment of contributions in

     ·the event an Employer has been repeatedly delinquent or based on the Employer's

     financial condition, if the Trustees determine that this is necessary to prevent or limit

     the size of a current or potential delinquency.

                       Section 7. Projection of Delinquency. Where an Employer is two or

     more months delinquent in making the contributions required on behalf of his

     Employees and has not submitted the required documents showing the Employees

     who worked for him and the hours worked, the Trustees may project as the amount

     of the delinquency the greater of (a) the average of the monthly payments or reports

     actually submitted by the Employer for the last three (3) months for which payments .


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          or reports were submitted or (b) the average of the monthly payments or reports

          submitted by the Employer for the last twelve (12) months for which payments or

          reports were submitted. This projection of delinquency may be made in place of a

          demand for production of payroll documents, or if the Employer fails to provide such

          documents, in place of an audit. The projection may be used as a determination of

          payments due for each delinquent month, and may be used for purposes of any

          lawsuit, and no other proof need be provided by the Trustees to any court or

          arbitrator to compute the total payments due from the Employer for all delinquent

         . months, exclusive of liquidated damages, interest, attorneys' fees and costs set out

         in this Article. This provision does not, however, limit the Trustees from seeking a

(        greater amount than the projected delinquency if a greater amount is shown to be

         owed by- records or other evidence.

                                             ARTICLE VII
                                          PLAN OF BENEFITS

                           Section 1. Benefits. The Trustees have full discretion and authority

         to adopt a Plan of Benefits which includes the eligibility requirements, type, amount

         and duration of benefits that are to be provided equally and without discrimination to

         eligible Employees, based on what the Trustees determine to be within the financial

         limitations of the Trust Fund. However, only apprentice and journeyman education

         and training and related benefits may be provided for under this Agreement.

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                      Section 2. Eligibility Requirements for Benefits. The Trustees have

     full discretion ·and authority to determine the eligibility requirements for benefits

     provided by the Fund. They have full discretion and authority to adopt rules stating

     the eligibility requirements which will be binding on the Union, the Association,

     Employers, Employees, Beneficiaries and dependents and any other persons making

     claims.

                      Section 3. Written Plan of Benefits. The detailed basis on which

     payment of benefits is to be made pursuant to this Trust Agreement will be stated in

     the Plan of Benefits.   The Plan of Benefits may be changed or modified by the

     Trustees at any time as the Trustees, in their discretion, determine is necessary

     based on the financial condition of the Fund, the needs of Employees and other

     related facts and circumstances. Any change or modification of the Plari of Benefits

     made by the Trustees will be stated in writing.

                      Section 4. Government Agency Approval. The Trust and the Plan

     of Benefits adopted by the Trustees will be structured and operated to qualify for

     approval by the Internal Revenue Service as a tax exempt Trust and Plan to ensure

     that the Employer contributions to the Fund are proper deductions for income tax

     purposes. In addition, the Plan of Benefits adopted by the Trustees will be structured

     and operated to qualify for approval by any other agency as may be required by


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          applicable law.    It is the intention of 'the Trustees to fully comply with all

          requirements of the Internal Revenue Code and ERISA. The Trustees are authorized

          to file whatever applications and forms are necessary with the Internal Revenue .
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          Service or other agency to receive and maintain approval of the Trust and Plan of
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          Benefits.

                            Section 5.   Limitation of Employer's and Union's Obligations.
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          Neither any Employer, nor the Association, nor the Union have any responsibility for

          the payment of any benefit under the Plan of Benefits.          The obligation of each

          Employer under the Plan is a separate one and is limited to paying into the Trust Fund

          the contributions that the Employer is obligated to make on behalf of its own

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          Employees and other payments under the provisions of the applicable Collective

          Bargaining Agreement and under the provisions of this Trust Agreement.
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                                           ARTICLE VIII
                                    CONTROVERSIES AND DISPUTES

                            Section 1.    Reliance on Records.       In connection with any

          controversy, claim, demand, lawsuit or other proceeding between the Union, the            I
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          Association, any Employer, Employee or any other person and the Trustees, the

         Trustees are entitled to rely to the extent permitted by ERISA, on any facts that          I

          appear in the records of the Trustees; any documents on file with the Trustees, with

         the Union, the Association, or with an Employer; any facts certified to the Trustees

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     by the Union, the Association     or an Employer; any facts which are in the public        !

     record and any·other evidence pertinent to the issue involved.

                       Section 2. Submission to Trustees. All questions or controversies

     of any type·that arise in any manner or between any persons in connection with the

     Trust Fund or the operation of the Trust Fund including, but not limited to, a claim tor

     benefits by an Employee or any other person, or concerning the interpretation of the

     language or meaning of the Plan of Benefits or this Trust Agreement or the rules and

     procedures adopted by the Trustees, or concerning any decision, document or

     account in connection with the operation of tl:le Trust Fund or otherwise, will be

     submitted to the Trustees and the decision of the Trustees will be binding upon all

     persons dealing with the Trust Fund or claiming benefits under the Trust Fund.

                       Section 3. · Settling Disputes.    The Trustees may, in their sole

     discretion, compromise or settle any claim or controversy in the manner that they

     determine to be in the best interest of the Fund. Any decision made by the Trustees

     to compromise or settle a claim or controversy, or any compromise or settlement

     agreement entered into by the Trustees, will be final and binding o.n all parties

     interested in this Trust.

                       Section 4.   Withholding Payment.    If a question ·or dispute. arises

     concerning the proper person or persons to whom a payment is to be made under the


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     Plan of Benefits or this Trust, the Trustees may withhold the payment until there has

     been an adjudication of the question or dispute which is satisfactory to the Trustees'

     in their sole judgment or until the Trustees have been fully protected against loss by

     an indemnification agreement or bond which the Trustees, in their sole judgment,

     determine is adequate.

                                            ARTICLE IX
                                           ARBITRATION

                       Section 1• Application of this Article. If the Trustees cannot decide

     any matter, issue or dispute because there is no quorum at two (2) successive regular

     or special meetings of the Trustees, or because there is a tie vote between the

     Employer· and Union Trustees at any meeting, then, in either event, the Employer

     Trustees and the Union Trustees will attempt to agree upon the designation of an

     impartial umpire to decide the dispute. If, within thirty (30) days after the occurrence

     of either of the two events referred to above the Union Trustees and the Employer

     Trustees fail to agree upon the selection of an impartial arbitrator, then the Union

     Trustees or Employer Trustees may request the American Arbitration Association to

     submit a panel of five (5) arbitrators .from which the disputing parties will choose one

     (1 ). The decision of the impartial arbitrator will be final and binding on all parties and

     persons concerned.

                       Section 2. Expenses of Arbitration.      All reasonable and necessary

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     costs and expenses in connection with the proceedings before the impartial arbitrator,

     including -the fee, if any, of the impartial arbitrator and including attorneys' fees

     incurred by the Trustees in connection with the dispute which are mutually agreed

     upon by the Union and Employer Trustees, is a proper charge against the Trust Fund

     and the Trustees are authorized and directed to pay such charges.

                       Section 3.   Status of Arbitrator.   An impartial arbitrator or umpire

     agreed upon or appointed to decide any matter relating to the administration of the

     Trust Fund or Plan of Benefits will be a fiduciary to the extent provided by ERISA or

     court or agency interpretations of ERISA.

                                        ARTICLE X
                              EXECUTION OF TRUST AGREEMENT

                       Section 1. Counterparts. This Trust Agreement may be executed in

     one or more counterparts.      The signature of a person on any counterpart will be

     sufficient evidence_. of his execution of the Trust Agreement.

                       Section 2. Written Instruments. Employers, as defined in Article I,

     Section 4, may adopt and become a party to this Trust Agreement by signing a

     Collective Bargaining Agreement in which the Employer agrees to participate in the

     Trust Fund under the terms of this Trust Agreement and the rules and procedures

     adopted by the Trustees.



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                                       ARTICLE XI
                              AMENDMENT TO TRUST AGREEMENT

                         Section 1. Amendment by Trustees. The provisions of this Trust

     Agreement may be amended to any extent and at any time by a document in writing

     adopted by a majority of the Union Trustees and a majority of the Employer Trustees.

      It is expressly understood and agreed that no amendment will direct any of the trust

     assets then in the hands of the Trustees from the purposes and objects of the Trust

     Fund.

                    Section 2.   Retroactive Effect. The Trustees have full power and

  ·discretion to establish the effective date of any Amendment. Any Amendment may

  have retroactive effect if it is determined to be necessary by the Trustees.

                                      ARTICLE XII
                                 TERMINATION OF TRUST

                    Section 1.    By the Trustees.      This Trust Agreement may be

  terminated by a document in writing adopted a majority of the Union Trustees and a

  majority of the Employer Trustees if any one or more of the following events occur:

                   (a)     if, in the opinion of the Trustees, the Trust Fund is not

  adequate to carry out the intent and purpose of this Trust Agreement, or is not

  adequate to meet the payments due or which may become due under the Plan of

  Benefits;


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                        (b}     if there are no individuals living who can qualify as Employees

      under this Trust Agreement;

                        (c}     if Collective Bargaining Agreements requiring contributions to

      the Trust Fund are no longer in force and effect.

                       Section 2.      Procedure on Termination.   If this Trust Agreement is

      terminated, the Trustees will:

                        (a)     provide for the payment out of the Trust Fund of expenses

      incurred up to the date of termination of the Trust and the expenses in connection

      with the termination;

(                       (b)     arrange for a final audit and report of their transactions and

      accounts for the purpose of terminating their Trusteeship;

                        (c}     give any notice and prepare and file any reports which may

      be required by law; and

                        (d)     apply the Trust Fund in accordance with the provisions of the

      Plan of Benefits including amendments adopted as part of the termination until the

      Fund is disbursed.

                       No part of the corpus or income of the Trust Fund will be used for

      or diverted to purposes other than for the exclusive benefit of the Employees or the


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  administrative expenses of the Trust Fund. Under no circumstances will any portion

  of the Trust Fund revert or inure to the benefit of any contributing Employer, the

  Association or the Union either directly or indirectly.

                    Section 3.    Notification of Termination.   Upon termination of the     I1.
  Trust Fund under this Article, the Trustees will promptly notify the Union, the

  Association, Employers, and all other interested parties. The Trustees will continue

  as Trustees for the purpose of winding up the affairs of the Trust Fund.

                                      ARTICLE XII
                              MISCELLANEOUS PROVISIONS

                    Section 1. Termination of Individual Employers. An Employer will

  cease to be an Employer within the meaning of this Trust Agreement when he is no

  longer obligated,    pursuant to     a Collective Bargaining    Agreement,    to   make

  contributions to this Trust Fund.

                    Section 2. Situs. The State of New York is the situs of the Trust

  Fund established by this Trust Agreement.          All questions pertaining to validity,

  construction and administration of this Trust Fund will be determined in accordance

  with the laws of the State of New York to the extent not preempted by the laws of

  the United States.



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                   Section 3. Construction of Terms. Wherever any words are used in

  this Trust Agreement in the masculine gender, they will be interpreted and applied as

  though they are also used in the feminine or neuter gender, in all situations where

  this would apply.    Wherever any words are used in this Trust Agreement in the

  singular form, they will be interpreted and applied as though they are also used in the
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  plural form in all situations where this would apply. Wherever any words are used in

  this Trust Agreement in the plural form, they will be interpreted and applied as

  though they are also used in the singular form in all situations where this would

  apply.

                   Section 4. Notice. Any notice required to be given to one or more

  of the Trustees pursuant to any provision of this Trust Agreement will be deemed to

  have been given if it is mailed to the Trustee or Trustees at the most recent address

  of the Trustee on file with the Trust Fund.

                   Section 5. Severability. If any provision in this Trust Agreement,

  the Plan of Benefits or rules and procedures adopted thereunder, or in any Collective

  Bargaining Agreement, is determined to be illegal or invalid for any reason, this

  determination will not affect other provisions contained in those documents, unless

  the determination concerning the illegal or invalid provision would make the


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       functioning of the Trust Fund or the Plan of Benefits impossible or impractical.      In

       such case, the appropriate parties will promptly adopt a new provision to take the

       place of the illegal or invalid provision.

                          Section 6. Refund of Contributions. In no event, will any Employer,

       directly or indirectly, receive any refund of contributions made by him to the Trust

       Fund except as provided in ERISA. Under no circumstances will any portion of the

       Trust Fund revert or inure to the benefit of any contributing Employer, the

       Association or the Union either directly or indirectly.

                          Section 7. Article and Section Titles. The Article and Section titles

       are included solely for convenience and will not be interpreted to affect or modify any
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       provision of this Trust Agreement or be interpreted as provisions of this Trust

       Agreement.

                          Section 8.     Benefits Payable from Trust Fund Only.       Benefits

       provided for by this Trust Agreement and/or the Plan of Benefits are only payable to

       the extent there are assets in the Fund to pay such benefits. Neither the Trustees,

       nor the Union, the Association or Employers guarantee the payment of benefits, in

       the event the assets of the Fund are insufficient for this purpose.

                          Section 9.     Complete Agreement.     The provisions of this Trust


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   Agreement exclusively will define the powers, duties, rights and obligations of all

   persons who have a relation to the Trust, except that the amount of the employer

   contributions will be provided for in Collective Bargaining Agreements.

                    IN WITNESS WHEREOF, the undersigned              have adopted and

   executed this document, as evidence of their acceptance of the Trust hereby

   established and their agreement to be bound by the Trust this [)1   ~ of Oc/o(y:;:/2::..
   _, 1999.

   PLUMBERS LOCAL UNION NO. 1                       . ASSOCIATION OF CONTRACTING
                                                      PLUMBERS OF THE CITY OF NEW
                                                      YORK, INC.

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                                       NOTICE LIST
  TO:   People's Revolution, Inc., 62 Grand Street, New York, New York 10013
